  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 1 of 12 PageID #:2835




                            UNITED STATES DISTRICT COURT
                            NORTHERN DISTRICT OF ILLINOIS
                                  EASTERN DIVISION



 FRANK CARBONE, ANDREW CORZO,
 SAVANNAH ROSE EKLUND, SIA HENRY,
 ALEXANDER LEO-GUERRA, MICHAEL
 MAERLENDER, BRANDON PIYEVSKY, KARA
 SAFFRIN, and BRITTANY TATIANA WEAVER,                        Case No. 1:22-cv-00125
 individually and on behalf of all others similarly situated,

                               Plaintiffs,
                                                             Hon. Matthew F. Kennelly
                       v.

 BROWN UNIVERSITY, CALIFORNIA INSTITUTE                      STIPULATION OF PARTIAL
 OF TECHNOLOGY, UNIVERSITY OF CHICAGO,                       VOLUNTARY DISMISSAL
 THE TRUSTEES OF COLUMBIA UNIVERSITY IN                      PURSUANT TO FED. R. CIV.
 THE CITY OF NEW YORK, CORNELL                               P. 41
 UNIVERSITY, TRUSTEES OF DARTMOUTH
 COLLEGE, DUKE UNIVERSITY, EMORY
 UNIVERSITY, GEORGETOWN UNIVERSITY, THE
 JOHNS HOPKINS UNIVERSITY, MASSACHUSETTS
 INSTITUTE OF TECHNOLOGY, NORTHWESTERN
 UNIVERSITY, UNIVERSITY OF NOTRE DAME DU
 LAC, THE TRUSTEES OF THE UNIVERSITY OF
 PENNSYLVANIA, WILLIAM MARSH RICE
 UNIVERSITY, VANDERBILT UNIVERSITY, and
 YALE UNIVERSITY,


                               Defendants.



       Pursuant to Federal Rule of Civil Procedure 41(a)(1)(A)(ii), the parties, by their

undersigned counsel, hereby stipulate that Plaintiff Kara Saffrin’s claims against Defendants shall

be dismissed with prejudice and without costs or attorneys’ fees to any party.
  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 2 of 12 PageID #:2836




Dated: November 1, 2022


By: /s/ Edward J. Normand                   Robert D. Gilbert
Velvel (Devin) Freedman                     Elpidio Villarreal
Edward J. Normand                           Alexis Marquez
Peter Bach-y-Rita                           GILBERT LITIGATORS &
FREEDMAN NORMAND                            COUNSELORS, P.C.
FRIEDLAND LLP                               11 Broadway, Suite 615
99 Park Avenue                              New York, NY 10004
Suite 1910                                  Tel: 646-448-5269
New York, NY 10016                          rgilbert@gilbertlitigators.com
Tel: 646-970-7513                           pdvillarreal@gilbertlitigators.com
vel@fnf.law                                 amarquez@gilbertlitigators.com
tnormand@fnf.law
pbachyrita@fnf.law

Eric L. Cramer                              Daniel J. Walker
Caitlin G. Coslett                          Robert E. Litan
BERGER MONTAGUE PC                          Hope Brinn
1818 Market Street, Suite 3600              BERGER MONTAGUE PC
Philadelphia, PA 19103                      2001 Pennsylvania Avenue, NW
Tel: 215-875-3000                           Suite 300
ecramer@bm.net                              Washington, DC 20006
ccoslett@bm.net                             Tel: 202-559-9745
                                            rlitan@bm.net
                                            dwalker@bm.net
                                            hbrinn@bm.net

Elizabeth A. Fegan                          Brooke Achua
FEGAN SCOTT LLC                             FEGAN SCOTT LLC
150 S. Wacker Dr., 24th floor               140 Broadway
Chicago, IL 60606                           46th Floor
Tel: 312-741-1019                           New York, NY 10005
beth@feganscott.com                         Tel.: 646- 502-7910
                                            brooke@feganscott.com

Counsel for Plaintiffs




                                        2
  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 3 of 12 PageID #:2837




By: /s/ Kenneth Michael Kliebard
Kenneth Michael Kliebard
Morgan Lewis & Bockius LLP
110 N. Wacker Drive
Suite 2800
Chicago, IL 60606
Tel: (312) 324-1000
Email: kenneth.kliebard@morganlewis.com

Jon R. Roellke*
Morgan, Lewis & Bockius LLP
1111 Pennsylvania Avenue, NW
Washington, DC 20004
Tel: (202) 739-5754
Email: jon.roellke@morganlewis.com

Noah J. Kaufman*
Morgan, Lewis & Bockius LLP
One Federal Street
Boston, MA 02110
Tel: (617) 341-7590
Email: noah.kaufman@morganlewis.com

Sujal J. Shah*
Morgan, Lewis & Bockius LLP
One Market, Spear Street Tower
San Francisco, CA 94105
Tel: (415) 442-1000
Email: sujal.shah@morganlewis.com

Attorneys for Defendant Brown University

/s/ Deepti Bansal
Deepti Bansal
Alexander J. Kasner*
Cooley LLP
1299 Pennsylvania Avenue, NW 700
Washington, DC 20001
Tel: (202) 728-7027
Email: dbansal@cooley.com
Email: akasner@cooley.com




                                           3
  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 4 of 12 PageID #:2838




Matthew Lawrence Kutcher
Cooley LLP
110 N. Wacker Drive
Suite 4200
Chicago. IL 60606
Tel: (312) 881-6500
Email: mkutcher@cooley.com

Attorneys for Defendant California Institute of Technology

/s/ James L. Cooper
James L. Cooper
Michael Rubin*
Arnold & Porter
601 Massachusetts Avenue NW
Washington, DC 20001
Tel: (202) 945-5000
Email: james.cooper@arnoldporter.com
Email: michael.rubin@arnoldporter.com

Leah Harrell*
Arnold & Porter
250 West 55th Street
New York, NY 10019
Tel: (212) 836-7767
Email: leah.harrell@arnoldporter.com

Valarie Hays
Arnold & Porter
70 W Madison Street
Suite 4200
Chicago, IL 60602
Tel: (312) 583-2440
Email: valarie.hays@arnoldporter.com

Attorneys for Defendant University of Chicago




                                                4
  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 5 of 12 PageID #:2839




/s/ Patrick Joseph Fitzgerald
Amy Van Gelder
Patrick Joseph Fitzgerald
Laura Bernescu
Skadden Arps Slate Meager & Flom LLP
155 N. Wacker Drive
Suite 2700
Chicago, IL 60606
Tel: (312) 407-0903
Email: amy.vangelder@skadden.com
Email: patrick.fitzgerald@skadden.com
Email: laura.bernescu@skadden.com

Karen Hoffman Lent*
Skadden Arps Slate Meager & Flom LLP
One Manhattan West
Room 40-216
New York, NY 10001
Tel: (212) 735-3276
Email: karen.lent@skadden.com

Attorneys for Defendant The Trustees of Columbia University in the City of New York

/s/ Norman Armstrong
Christopher Yook*
Norman Armstrong, Jr.*
King & Spalding
1700 Pennsylvania Avenue, NW
Suite 200
Washington, DC 20006
Tel: (202) 626-3737
Email: cyook@kslaw.com
Email: narmstrong@kslaw.com

Emily T. Chen*
King & Spalding
1185 Avenue of the Americas
34th Floor
New York, NY 10036
Tel: (212) 556-2224
Email: echen@kslaw.com

Zachary Thomas Fardon
King & Spalding
110 North Wacker Drive
Suite 3800



                                              5
  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 6 of 12 PageID #:2840




Chicago, IL 60606
Tel: (312) 995-6333
Email: zfardon@kslaw.com

Attorneys for Defendants Cornell University and William Marsh Rice University

/s/ Terri Lynn Mascherin
Terri Lynn Mascherin
Lina Ragep Powell
Reid J. Schar
Jenner & Block LLP
353 N. Clark Street
Chicago, IL 60654
Tel: (312) 222-9350
Email: tmascherin@jenner.com
Email: linapowell@jenner.com
Email: rschar@jenner.com

Douglas E. Litvack*
Ishan K. Bhabha*
Lauren J. Hartz*
Jenner & Block LLP
1099 New York Avenue, NW
Suite 900
Washington, DC 20001
Tel: (202) 637-6357
Email: dlitvack@jenner.com
Email: ibhabha@jenner.com
Email: lhartz@jenner.com

Attorneys for Defendant Trustees of Dartmouth College

/s/ Casey T. Grabenstein
Casey T. Grabenstein
Elizabeth Anne Thompson
James A. Morsch
Saul Ewing Arnstein & Lehr
161 N. Clark Street
Chicago, IL 60601
Tel: (312) 876-7810
Email: casey.grabenstein@saul.com
Email: elizabeth.thompson@saul.com
Email: jim.morsch@saul.com

Joshua W. B. Richards*
Saul Ewing Arnstein & Lehr



                                             6
  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 7 of 12 PageID #:2841




Centre Square West
1500 Market Street
Philadelphia, PA 19102
Tel: (215) 972-7777
Email: joshua.richard.saul.com

Christopher Dean Dusseault*
Jacqueline Sesia*
Gibson, Dunn & Crutcher LLP
333 South Grand Avenue
Los Angeles, CA 90071
Tel: (213) 229-7855
Email: cdusseault@gibsondunn.com
Email: jsesia@gibsondunn.com

Rachel Susan Brass*
Gibson, Dunn & Crutcher LLP
555 Mission Street, Suite 3000
San Francisco, CA 94105
Tel: (415) 393-8200
Email: rbrass@gibsondunn.com

Attorneys for Defendant Duke University

/s/ Tina M. Tabacchi
Tina M. Tabacchi
Kenneth Michael Kliebard
Jones Day
110 North Wacker Drive
Suite 4800
Chicago, IL 60601
Tel: (312) 782-3939
Email: tmtabacchi@jonesday.com
Email: kenneth.kliebard@morganlewis.com

Christopher N. Thatch*
Craig A. Waldman*
Hashim M. Moopan*
Jones Day
51 Louisiana Avenue, NW
Washington, DC 20001
Tel: (202) 879-3939
Email: cthatch@jonesday.com
Email: cwaldman@jonesday.com
Email: hmmooppan@jonesday.com




                                          7
  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 8 of 12 PageID #:2842




Kate Wallace*
Jones Day
100 High Street
21st Street
Boston, MA 02110
Tel: (617) 960-3939
Email: kwallace@jonesday.com

Attorneys for Defendant Emory University

/s/ Britt Marie Miller
Britt Marie Miller
Jed Wolf Glickstein
Mayer Brown LLP
71 South Wacker Drive
Chicago, IL 60606
Tel: (312) 782-0600
Email: bmiller@mayerbrown.com
Email: jglickstein@mayerbrown.com

Attorneys for Defendant Georgetown University

/s/ Jeffrey J. Bushofsky
Jeffrey J. Bushofsky
Ropes & Gray LLP
191 North Wacker Drive
32nd Floor
Chicago, IL 60606
Tel: (312) 845-1200
Email: jeffrey.bushofsky@ropesgray.com

Chong S. Park
Samer Makram Musallam
Ropes & Gray LLP
2099 Pennsylvania Avenue, NW
Washington, DC 20006
Tel: (202) 508-4631
Email: chong.park@ropesgray.com
Email: samer.musallam@ropesgray.com

Attorneys for Defendant The Johns Hopkins University

/s/ Eric J. Mahr
Daphne Lin*
Eric J. Mahr*
Jan Rybnicek*



                                             8
  Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 9 of 12 PageID #:2843




Freshfields Bruckhaus Deringer
700 13th Street NW
10th Floor
Washington, DC 20005
Tel: (202) 777-4500
Email: daphne.lin@freshfields.com
Email: eric.mahr@freshfields.com
Email: jan.rybnicek@freshfields.com

Jennifer L. Greenblatt
Rami N. Fakhouri
Goldman Ismail Tomaselli Brennan & Baum LLP
200 South Wacker Drive
22nd Floor
Chicago, IL 60606
Tel: (312) 661-6000
Email: jgreenblatt@goldmanismail.com
Email: rfakhouri@goldmanismail.com

Attorneys for Defendant Massachusetts Institute of Technology

/s/ Scott David Stein
Scott David Stein
Benjamin Richard Brunner
Kelsey Annu-essuman
Sidley Austin LLP
1 South Dearborn Street
Chicago, IL 60603
Tel: (312) 853-7000
Email: sstein@sidley.com
Email: bbrunner@sidley.com
Email: kannuessuman@sidley.com

Attorneys for Defendant Northwestern University

/s/ Robert Alois Van Kirk
Robert Alois Van Kirk
Cole Thomas Wintheiser
Jonathan Pitt
Matthew David Heins
Sara Forsythe Kirkpatrick
Williams & Connolly LLP
680 Maine Avenue SW
Washington, DC 20024
Tel: (202) 434-5163
Email: rvankirk@wc.com



                                              9
 Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 10 of 12 PageID #:2844




Email:   cwintheiser@wc.com
Email:   jpitt@wc.com
Email:   mheins@wc.com
Email:   skirkpatrick@wc.com

James Peter Fieweger
Michael Best & Friedrich LLP
444 West Lake Street
Suite 3200
Chicago, IL 60606
Tel: (312) 222-0800
Email: jpfieweger@michaelbest.com

Attorneys for Defendant University of Notre Dame du Lac

/s/ Seth P. Waxman
Seth P. Waxman
Wilmer Cutler Pickering Hale and Dorr LLP
1875 Pennsylvania Avenue, NW
Washington, DC 20006
Tel: (202) 663-6000
Email: seth.waxman@wilmerhale.com

Alan Schoenfeld*
David Gringer*
Wilmer Cutler Pickering Hale and Dorr LLP
7 World Trade Center
250 Greenwich Street
New York, NY 10007
Tel: (212) 937-7294
Email: alan.schoenfeld@wilmerhale.com
Email: david.gringer@wilmerhale.com

Daniel Martin Feeney
Edward W. Feldman
Miller Shakman Levine & Feldman LLP
30 West Monroe Street, 19th Floor
Chicago, IL 60603
Tel: (312) 263-3700
Email: dfeeney@millershakman.com
Email: efeldman@millershakman.com

Attorneys for Defendant The Trustees of the University of Pennsylvania

/s/ John Mark Gidley
John Mark Gidley*



                                              10
 Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 11 of 12 PageID #:2845




White & Case LLP
701 13th Street, NW
Washington, DC 20005
Tel: (202) 626-3600
Email: mgidley@whitecase.com

Robert A. Milne
David H. Suggs*
White & Case LLP
1221 Avenue of the Americas
New York, NY 10020
Tel: (212) 819-8200
Email: rmilne@whitecase.com
Email: dsuggs@whitecase.com

Carolyn Pelling Gurland
White & Case LLP
111 S. Wacker Drive
Suite 5100
Chicago, IL 60606
Tel: (312) 881-5405
Email: carolyn.gurland@whitecase.com

Attorneys for Defendant Vanderbilt University

/s/ Charles A. Loughlin
Charles A. Loughlin
Benjamin F. Holt*
Jamie Lee
Molly Pallman
Hogan Lovells US LLP
555 Thirteenth Street, NW
Washington, DC 20004
Tel: (202) 637-5661
Email: chuck.loughlin@hoganlovells.com
Email: benjamin.holt@hoganlovells.com
Email: jamie.lee@hoganlovells.com
Email: molly.pallman@hoganlovells.com

Stephen Novack
Serena Georgette Rabie
Stephen J. Siegel
Novack and Macey LLP
100 North Riverside Plaza
Chicago, IL 60606
Tel: (312) 419-6900



                                                11
 Case: 1:22-cv-00125 Document #: 237 Filed: 11/01/22 Page 12 of 12 PageID #:2846




Email: snovack@novackmacey.com
Email: srabie@novackmacey.com
Email: ssiegel@novackmacey.com

Attorneys for Defendant Yale University


*Pro hac vice




                                          12
